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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


 In re:                                                      Chapter 11

 ROCHESTER DRUG CO-OPERATIVE, INC.                           Case No. 20-20230 (PRW)

                            Debtor.



 Advisory Trust Group, LLC, as trustee of the RDC            Adv. Proc. No. 22-02064 (PRW)
 LIQUIDATING TRUST,

                            Plaintiff,
           v.

 BERRY GLOBAL, INC. (f/k/a BERRY PLASTICS
 CORPORATION),

                            Defendant.

                                      NOTICE OF DISMISSAL

          PLEASE TAKE NOTICE that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, as made applicable herein by Rule 7041 of the Federal Rules of Bankruptcy Procedure,

Plaintiff, Advisory Trust Group, LLC, as trustee of the RDC Liquidating Trust, hereby dismisses,

with prejudice, its Complaint against Berry Global, Inc. (f/k/a Berry Plastics Corporation) (the
“Defendant”) in the above-captioned adversary proceeding. The Defendant has not filed an answer,

responsive pleading, or motion for summary judgment in this adversary proceeding.


 Dated: June 14, 2022                             PACHULSKI STANG ZIEHL & JONES LLP

                                                  /s/ Ilan D. Scharf
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